
MEMORANDUM-DECISION &amp; ORDER
McAVOY, Chief Judge.
I. BACKGROUND
Plaintiff, JEROME FAULCON, brings this action pursuant to 42 U.S.C. § 1983 challenging the constitutionality of New York Judiciary Law § 520, and alleges that the defendants, ROBERT JORDAN, PENNY STINTON, and CITY OF KINGSTON, violated his sixth and fourteenth amendment rights by improperly selecting jurors for Kingston City Court proceedings, such that the plaintiff was, and will in the future, be tried by a jury that does not represent a fair cross-section of the community.
The defendants argue that the court should abstain from deciding this ease pursuant to the Supreme Court’s decision in Younger v. Harris.1
The court rejects both arguments, and dismisses this ease for lack of standing, as more fully set forth below.
II. DISCUSSION
The court first notes that the plaintiff does not seek to affect any currently pending criminal matters in the city court of Kingston.2 Rather, the plaintiff seeks to obtain relief relating to expected future criminal matters involving the plaintiff and the Kingston criminal court system.
Standing
Pursuant to Article III of the U.S. Constitution, those who seek to invoke the power of the federal courts must allege an actual case or controversy. See Flast v. Cohen, 392 U.S. 83, 94-101, 88 S.Ct. 1942, 1949-53, 20 L.Ed.2d 947 (1968). As the Supreme Court has explained, the plaintiff “must allege some threatened or actual injury” before a court may assume jurisdiction. Linda R.S. v. Richard D., 410 U.S. 614, 617, 93 S.Ct. 1146, 1148, 35 L.Ed.2d 536 (1973). “The injury or threat of injury must be both ‘real and immediate’ not ‘conjectural’ or ‘hypothetical.’ ” O’Shea v. Littleton, 414 U.S. 488, 494, 94 S.Ct. 669, 675, 38 L.Ed.2d 674 (1974) (citing, Golden v. Zwickler, 394 U.S. 103, 109-10, 89 S.Ct. 956, 960, 22 L.Ed.2d 113 (1969).
In the instant ease, the plaintiff alleges that there is a very real possibility, if not a substantial likelihood that he will face misdemeanor charges before the city court in Kingston in the future. The plaintiff alleges that the jury pool from which juries are selected for such proceedings is the county of Ulster voter registration rolls, not solely the city of Kingston. Since the percentage of black citizens in the city of Kingston is 10% of the population and the percentage of black citizens in Ulster county is 5% of the population, the plaintiff alleges that the juries he will face in the city court of Kingston do not represent a fair cross-section of the community. This “threat” of future injury is alleged to be quite real. The court, however, disagrees.
In O’Shea, supra, the Supreme Court declined to confer standing on parties who alleged that “they anticipate violating lawful criminal statutes” in the future “in which event they may appear” in court and “will be affected by the allegedly illegal conduct charged.” O’Shea, 414 U.S. at 494, 94 S.Ct. at 676. Significantly in O’Shea, “[t]he nature of [plaintiffs] activities is not described in detail and no specific threats are alleged to have been made against [him].” 414 U.S. at 497, 94 S.Ct. at 677 (emphasis added). Without “‘sufficient immediacy and reality’ to [the plaintiff’s] allegations of future injury” the court will not confer jurisdiction. Id., (citing, Golden, supra). The plaintiff herein *54alleges future violations of unspecified sections of the New York Penal Law. Although the plaintiffs past record suggests a certain recidivism, that alone, particularly given that there are no threats of arrest against the plaintiff will not confer standing. Accordingly, the court must dismiss the complaint as against all defendants.
III. CONCLUSION
For the foregoing reasons, the Court dismisses the plaintiffs complaint in its entirety without prejudice.
IT IS SO ORDERED.

. 401 U.S. 37, 91 S.Ct. 746, 27 L.Ed.2d 669 (1971).


. Seeking such relief might well have lead the court to abstain. See Younger v. Harris, supra.

